                                CERTIFICATE OF SERVICE

        I, Eileen M. Bradley, hereby certify that on this 10th day of January, 2022, the Answer

with Affirmative Defenses was filed via the Court’s CM/ECF filing system.


                                             Respectfully submitted,



                                             /s/ Eileen M. Bradley, Esquire
                                             Eileen M. Bradley, Esquire
                                             Attorneys for Defendants
                                             Liberty Mutual Insurance Group, Inc.
                                             d/b/a Liberty Mutual Insurance,
                                             Liberty Mutual Insurance Company,
                                             SafeCo Insurance Company of America,
                                             and LM General Insurance Company




                                                14
LEGAL02/41333924v1
